     Disability Impacts
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     ALL of US
                                                                                                        COMMUNITIES           HEALTH          ACCESS




     61 million adults in the United States live with a disability

    Click for
    state-specific
    information 




26                                                     %
                                                                                                            The percentage of people
                                                                  of adults in                               living with disabilities is
                                                                                                               highest in the South
                                                               the United States
                                                                have some type
      (1 in 4)                                                    of disability

Percentage of adults with functional disability types

13.7% 10.8% 6.8% 5.9% 4.6% 3.7%
   MOBILITY
Serious difficulty
    walking or
 climbing stairs
                                             COGNITION
                                        Serious difficulty
                                         concentrating,
                                        remembering, or
                                            making
                                           decisions             INDEPENDENT
                                                                    LIVING
                                                                                           HEARING
                                                                 Difficulty doing
                                                                 errands alone           Deafness or
                                                                                                                     VISION
                                                                                       serious difficulty
                                                                                           hearing                 Blindness or           SELF-CARE
                                                                                                                 serious difficulty
                                                                                                                      seeing            Difficulty dressing
                                                                                                                                             or bathing




     Disability and
     COMMUNITIES
     Disability is especially common in these groups:




   2 5                           in
                                                                       adults age 65
                                                                      years and older
                                                                      have a disability




   1 4
    in                                                                    women have
                                                                           a disability




   2 5
                                                                       Non-Hispanic
     in                                                             American Indians/
                                                                      Alaska Natives
                                                                     have a disability


     Disability and
     HEALTH
    Adults living with disabilities are more likely to
                                                                                                                  With       Without
                                                                                                               Disabilities Disabilities


                                               HAVE OBESITY                                                    38.2% 26.2%

                                               SMOKE                                                           28.2% 13.4%

                                               HAVE HEART DISEASE                                               11.5% 3.8%

                                               HAVE DIABETES                                                   16.3% 7.2%


     Disability and Healthcare
     ACCESS
    Healthcare access barriers for working-age adults include



   13               in
       adults with disabilities
                                                                   do not have a
                                                                 usual healthcare
                                                                     provider




   13
           (18-44 years)




    in                                                             have an unmet
                                                                  healthcare need
                                                                  because of cost
       adults with disabilities
                                                                   in the past year



   14
           (18-44 years)




   in                                                              did not have a
                                                                 routine check-up
       adults with disabilities                                   in the past year
           (45-64 years)



   Making A
   DIFFERENCE
   PUBLIC HEALTH IS FOR ALL OF US


                                                                                                   Promoting
                                                                                                    Healthy
                                                                                                     Living




                                                                  Improving                Join CDC and                                Monitoring
                                                                   Access                its partners as we                           Public Health
                                                                to Health Care                                                            Data
                                                                                            work together
                                                                                       to improve the health
                                                                                           of people living
                                                                                           with disabilites



                                                                                Building                                  Researching
                                                                               Inclusive                                  & Reducing
                                                                                 Health                                      Health
                                                                               Programs                                    Disparities




                                                       View infographic and references at: www.cdc.gov/disabilities
          National Center on Birth Defects
           and Developmental Disabilities                    Contact us: disabilityandhealthbranch@cdc.gov
                                                                        Twitter: @CDC_NCBDDD
          Centers for Disease Control and Prevention
